                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

WILLIAM FEEHAN,
and DERRICK VAN ORDEN,

                   Plaintiffs,
                                                      Case No. 20-cv-1771-pp
      v.

WISCONSIN ELECTIONS COMMISSION, et al.,

                  Defendants.
______________________________________________________________________________

    ORDER REGARDING AMENDED MOTION FOR INJUNCTIVE RELIEF
                                 (DKT. NO. 6)
______________________________________________________________________________

      On the morning of December 1, 2020, the plaintiffs filed a complaint

(Dkt. No. 1) and a motion for declaratory, emergency and permanent injunctive

relief (Dkt. No. 2). The complaint is not verified.

      The motion indicated that the specific relief the plaintiffs were requesting

was laid out in an attached order. Dkt. No. 2 at 1. This language was

highlighted and in a larger font than the rest of the motion. There was no order

attached. At the end of the motion, under the words “Certificate of Service,” the

following statement appeared (also highlighted): “This is to certify that I have

on this day e-filed the foregoing Plaintiffs’ Motion to File Affidavits Under Seal

and For In Camera Review with the Clerk of Court using the CM/ECF system,

and that I have delivered the filing to the Defendants by email and FedEx at the

following addresses:”. Id. at 2. No addresses were listed below this statement




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and no documents were filed under seal. There was no request for in camera

review.

      Under Federal Rule of Civil Procedure 65(b), a court cannot issue a

temporary restraining order without written or oral notice to the adverse party

or that party’s attorney unless the moving party (a) files an affidavit or “verified

complaint” containing specific facts that clearly show that immediate and

irreparable injury, loss or damage will result to the movant before the adverse

party has a chance to be heard in opposition, and (b) the movant’s attorney

certifies in writing any efforts made to give notice and the reasons why notice

should not be required. There was no indication that the plaintiffs gave notice

to the adverse parties of the morning’s motion, there was no affidavit filed with

the motion, the complaint is not verified and there was no certification from

counsel about the efforts made to give notice to the adverse parties or why

notice should not be required.

      At 3:15 that afternoon, the plaintiffs filed another document. It appears

on the docket as a motion to amend or correct, but the document itself is

captioned, “Plaintiffs’ Corrected Motion for Declaratory, Emergency, and

Permanent Injunctive Relief.” Dkt. No. 6. This motion indicates that the earlier

motion was an inadvertently filed draft and acknowledges that the referenced

proposed order had not been attached. Id. at 1. At the end of the “corrected,” or

amended, motion, under the heading “Certificate of Electronic Service,” the

motion states,




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             Pursuant to FRCP 65, this is to certify that upon filing of this
       Motion, Plaintiffs will provide electronic notice to Defendants of this
       Action and Motion as follows:

              Defendants Wisconsin Elections Commission and Wisconsin
              Elections Commissioners:
              elections@wi.gov

              Defendant Governor Tony Evers
              eversinfo@wisconsin.gov

Id. at 3.

       There is a proposed order attached to the afternoon’s amended motion.

Dkt. No. 6-1. The proposed order asks various injunctions, declarations and

orders. It does not ask for a hearing.

       Because the afternoon motion indicates that the plaintiffs “will” provide

electronic notice to the adverse parties, the court does not know whether the

plaintiffs have yet provided notice to the adverse parties or when they will do

so. Until the plaintiffs notify the court that they have provided notice to the

adverse parties, the court will not take any action because the motion does not

comply with the requirements of Rule 65(b).

       If the plaintiffs have provided notice to the adverse parties, under Civil

Local Rule 7(b) (E.D. Wis.) those parties have twenty-one days to respond to the

motion and under Civil L.R. 7(c) the plaintiffs have fourteen days to reply.

While the caption of the motion includes the word “emergency” and the

attached proposed order seeks an “expedited” injunction, neither the motion

nor the proposed order indicate whether the plaintiffs are asking the court to

act more quickly or why. As indicated, the motion does not request a hearing.

It does not propose a briefing schedule.
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      If the plaintiffs believe an expedited briefing schedule is necessary or

warranted, they may contact chambers, with representatives of the adverse

parties on the line, and request a telephone hearing. Otherwise, the court will

await the defendants’ opposition brief.

      Dated in Milwaukee, Wisconsin this 2nd day of December, 2020.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      Chief United States District Judge




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